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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                              AT CINCINNATI DIVISION

IN RE:                                                IN PROCEEDINGS UNDER CHAPTER 7

RACHEL A EVERETT                                                 CASE NO: 19-10589

       DEBTOR                                             JUDGE: BETH A. BUCHANAN

                       TRUSTEE'S ABANDONMENT OF PROPERTY

       On request of Creditor Nationstar Mortgage LLC d/b/a Mr. Cooper for an abandonment

by the Trustee of certain real estate described herein; and it appearing that there is no equity in

the property described herein for the benefit of unsecured creditors, the Trustee does hereby

abandon the following described property as an asset of inconsequential value to the estate, to-

wit:

               4520 Hillside Avenue, Cincinnati, OH 45233

               FOR LEGAL DESCRIPTION, SEE EXHIBIT “A” ATTACHED.



                                               /s/ Eric W. Goering
                                               Eric W. Goering




                                                  1
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           CERTIFICATE OF NO REQUEST FOR FURTHER NOTICE/NO OBJECTION

       This is to certify that the undersigned has caused the docket to be checked following the

first meeting of creditors and no additional notice request appears thereon or, if one has been

filed, additional notice has been provided to the party requesting same without timely objection.

                                             Respectfully Submitted,

                                             /s/ Matthew Murtland___________________
                                             Shapiro, Van Ess, Phillips & Barragate, LLP
                                             Matthew Murtland (OH-0088290)
                                             4805 Montgomery Road, Suite 320
                                             Norwood, OH 45212
                                             Phone: (513) 396-8100
                                             Fax: (847) 627-8805
                                             Email: mmurtland@logs.com




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                                  EXHIBIT “A”
                               LEGAL DESCRIPTION




                                        1
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                                CERTIFICATE OF SERVICE

       I certify that on April 12, 2019, copies of the foregoing were served by mailing the same
by ordinary U.S. Mail, postage prepaid, and/or electronically as permitted by local rule, to the
persons listed below.

Served by Regular U.S. Mail

Rachel Everett
a/k/a Rachel A Everett
4520 Hillside Ave
Cincinnati, OH 45233

Electronic Mail Notice List

John W Rose
35 East Seventh Street
Suite 610
Cincinnati, OH 45202

Eric W. Goering
220 West Third Street
Suite 399
Cincinnati, OH 45202

Office of the U.S. Trustee
36 East Seventh Street
Suite 2030
Cincinnati, OH 45202

                                            /s/ Matthew Murtland___________________
                                            Shapiro, Van Ess, Phillips & Barragate, LLP
                                            Matthew Murtland (OH-0088290)
                                            4805 Montgomery Road, Suite 320
                                            Norwood, OH 45212
                                            Phone: (513) 396-8100
                                            Fax: (847) 627-8805
                                            Email: mmurtland@logs.com
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